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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

    In re:
                                                               Chapter 11
                                     1
    TK HOLDINGS, INC., et al.,
                                                               Case No. 17-11375 (BLS)
                  Debtors.
                                                               Jointly Administered



                  NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING
                   ON JULY 12, 2023 AT 9:30 A.M. (PREVAILING EASTERN TIME)
                       BEFORE THE HONORABLE BRENDAN L. SHANNON



                    THIS HEARING HAS BEEN CANCELLED BY THE COURT
                     AS NO MATTERS ARE SCHEDULED TO GO FORWARD.



MATTER FOR WHICH A CNO HAS BEEN FILED:

1.           Sixteenth Motion of Joseph J. Farnan, Jr., as Trustee of the Reorganized TK Holdings
             Trust, Pursuant to, Inter Alia, Fed. R. Bankr. P. 9006(b)(1), for an Order Extending the
             Deadline to Object to Certain Claims [Filed: 6/28/23] (Docket No. 5044)

             Response Deadline: July 5, 2023 at 4:00 p.m. (ET).

             Response Received: None.

             Related Documents:

             A.      [Proposed] Order Granting Sixteenth Motion of Joseph J. Farnan, Jr., as Trustee
                     of the Reorganized TK Holdings Trust, Pursuant to, Inter Alia, Fed. R. Bankr. P.
                     9006(b)(1), For an Order Extending the Deadline to Object to Certain Claims
                     Through November 16, 2023 [Filed: 6/28/23] (Docket No. 5044, Exhibit A)

             B.      Certificate of No Objection Regarding Sixteenth Motion of Joseph J. Farnan, Jr.,

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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Takata Americas (9766); TK Finance, LLC (2753); TK China, LLC (1312); TK
Holdings Inc. (3416); Takata Protection Systems Inc. (3881); Interiors in Flight Inc. (4046); TK Mexico Inc. (8331);
TK Mexico LLC (9029); TK Holdings de Mexico, S. de R.L. de C.V. (N/A); Industrias Irvin de Mexico, S.A. de
C.V. (N/A); Takata de Mexico, S.A. de C.V. (N/A); and Strosshe-Mex, S. de R.L. de C.V. (N/A). Except as
otherwise set forth herein, the Debtors’ international affiliates and subsidiaries are not debtors in these chapter 11
cases.



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                 as Trustee of the Reorganized TK Holdings Trust, Pursuant to, Inter Alia, Fed. R.
                 Bankr. P. 9006(b)(1), for an Order Extending the Deadline to Object to Certain
                 Claims [Filed: 7/6/23] (Docket No. 5049)

        Status: The Court has indicated an order will be entered on this matter. No hearing is
        necessary.


Dated: July 10, 2023                          PACHULSKI STANG ZIEHL & JONES LLP

                                              /s/ Peter J. Keane
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                                              Holdings Trust




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